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                              United States District Court
                                        for the
                              Southern District of Florida

  United States of America,               )
  Plaintiff                               )
                                          )
  v.                                      )
                                          ) Criminal Case No. 16-20549-CR-Scola
  Philip Esformes,                        )
  Odette Barcha,                          )
  Arnaldo Carmouze,                       )
  Defendants.                             )

                   Order Resetting Trial Date and Deadlines

        On July 27, 2018, this matter came before the Court for a status
  conference, the Defendants’ arraignment, and the Defendants’ joint motion to
  continue the trial date (ECF No. 883.) Based on the matters presented and
  argument of counsel, it is hereby ordered and adjudged as follows:
       1.     Defendants’ Joint Motion to Continue Trial (ECF No. 883) is
              granted. The interests of justice served by a continuance outweigh
              any interest of the public or the Defendant in a speedy trial. As a
              result, the period of delay resulting from this continuance C i.e.,
              from the date the Motion was made, July 26, 2018, to and
              including the date trial commences C is excludable time under the
              Speedy Trial Act. See 18 U.S.C. ' 3161(h)(7).
       2.     All dispositive motions are due on or before August 24, 2018.
       3.     Status Conference regarding the trial date and jury letter is set for
              December 3, 2018 at 8:30 a.m. All counsel and Defendants are
              required to be present for status conference.
       4.     The parties must inform the Court of any plea agreement on or
              before December 3, 2018.
       5.     Jury Selection is set for January 28, 2019 at 9:00 a.m., before the
              Honorable Robert N. Scola, Jr., United States District Judge, at 400


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              North Miami Avenue, Courtroom 12-3, Miami, Florida. No calendar
              call will be held.
       6.     Opening statements/jury trial is set for Monday, January 28, 2019
              at 9:00 a.m.
        5.    All requests for Writs Ad Testificandum must be filed not later than
              14 business days prior to the first day of the scheduled trial period.
        6.    All responses pursuant to the Standing Discovery Order and/or
              Local Rule 88.10 shall be provided in a timely fashion in accordance
              with the dates scheduled by the Magistrate Judge. Noncompliance
              may result in sanctions.     Any Fed. R. Evid. 404(b) notice shall
              include a specific factual basis for the evidence sought to be
              introduced.
        7.    All motions filed shall be accompanied by a written statement
              certifying that counsel for the moving party has conferred with
              opposing counsel in a good faith effort to resolve by agreement
              the subject matter of the motion as required by Local Rule 88.9.
              In a multi-defendant case, a defendant moving to continue the trial
              shall confer with all other co-defendants before filing the motion.
              The movant shall indicate in the motion the position taken by each
              other co-defendant with respect to the motion (i.e., whether the
              requested continuance is opposed or agreed to).
        8.    Counsel shall be prepared to conduct limited voir dire following the
              Court=s questioning of the panel. Counsel shall also submit to the
              Court at the December 3, 2018 status conference proposed juror
              questionnaires. Proposed jury instructions, in typed form, including
              substantive charges and defenses, shall be submitted to the Court
              prior to December 3, 2018, in Word format, via e-mail to
              scola@flsd.uscourts.gov. Instructions for filing proposed documents
              may be viewed at http://www.flsd.uscourts.gov.
        9.    On December 3, 2018, all counsel shall submit to the Court a typed

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               list of proposed witnesses and/or exhibits to be presented at trial.
               All exhibits to be offered into evidence must be pre-labeled in
               accordance with the proposed exhibit list.       (Government exhibits
               are to be designated numerically; defense exhibits, alphabetically).
        10.    If a defendant elects to proceed with a defense strategy by which he
               or she concedes guilt as to one or more of the charges, defense
               counsel must notify the Court of this strategy before this strategy is
               presented to the jury. This notice is to allow the Court to conduct a
               colloquy with the defendant before the jury hears the concession.
        11.    If either party seeks to introduce transcript(s) at the trial, such shall
               be exchanged with all counsel before the scheduled day of trial. If a
               transcript cannot be agreed upon, each party shall be prepared to
               produce its own version for the trier of fact.
        12.    All anticipated Jencks Act1 material shall be turned over to defense
               counsel not later than January 2, 2019.            The material shall
               include a face sheet for defense counsel to sign and date,
               acknowledging receipt.
        13.    Upon receipt of this order, counsel are directed to certify with the
               Court=s courtroom deputy the necessity of an interpreter for the
               Defendant. Counsel are further instructed to notify the Court, at
               least 24 hours prior to any hearings or trial, if an interpreter is
               required.
        14.    Counsel are instructed that arrangements for appropriate clothing
               for Defendants in custody must be made with the Bureau of Prisons
               at least seven (7) days prior to the scheduled trial date.
        15.    Counsel are advised to comply with Local Rule 88.5, requiring
               the filing of speedy trial reports every 20 days hereafter until
               the time of trial or plea.

        118   U.S.C. ' 3500


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        16.   Counsel are reminded that pursuant to the CM/ECF Administrative
              Procedures, Proposed Orders shall be submitted to the Court by
              E-Mail in Word format at scola@flsd.uscourts.gov.
        17.   Jury Instructions. The parties must submit their proposed jury
              instructions jointly, though they need not agree on each proposed
              instruction. Where both parties agree on a proposed instruction,
              that instruction must be set out in regular typeface. Instructions
              proposed only by a plaintiff must be underlined. Instructions
              proposed only by a defendant must be bold-faced. Every instruction
              must be supported by a citation of authority. The parties should use
              as a guide the Eleventh Circuit Pattern Jury Instructions for Civil
              Cases, including the directions to counsel, or the applicable state
              pattern jury instructions. The parties must jointly file their proposed
              jury instructions via CM/ECF, and must also submit their proposed
              jury instructions to the Court via e-mail at scola@flsd.uscourts.gov
              in Word format (.doc).
        18.   Notification of juror misconduct. Every party has an affirmative duty
              to notify the Court immediately of any possible juror misconduct or
              any information that might possibly reflect on a juror’s ability to
              serve. Immediate notification is required to allow the Court the
              opportunity to address the issue, including questioning the juror
              and, if necessary, discharging the juror and seating an alternate
              juror. In any trial lasting more than five days, the Court imposes an
              affirmative   duty   on   both   sides   to   conduct   all   reasonable
              investigations of juror misconduct, including statements provided
              during voir dire, and to advise the Court immediately of any
              discovered misconduct. Any party who fails to conduct a reasonable
              investigation in this situation and later discovers an incidence of
              juror misconduct has waived his, her, or its right to rely on that
              misconduct in a motion before this Court.

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        U.S.A. vs. Esformes, et. al., Case No. 16-20549-CR-Scola
        Done and ordered in Chambers at Miami, Florida, on July 27, 2018.

                                            ______________________________
                                            Robert N. Scola, Jr.
                                            United States District Judge



  cc:   counsel of record




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